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& AQ 187 (Rey 7/87) Exhibit and Witness List

UNITED STATES DISTRICT COURT

DISTRICT OF South Dakota - Central Division

it i F ee
5) re
SD Farm Bureau, Inc., et al. FU JAD

. EXHIBIT AND WITNESS LIST
me
Vv. DEC 7 2001
State of South Dakota, et al. . Case Number: CIV99-3018
5 i
PRESIDING JUDGE PLAINFIERS ATTORNEY DEFENDANT'S ATTORNEY
CHARLES B. KORNMANN Gregerson/Day/Tonner/Gerdes Best/Bamett/Davidson/Canney/Tutchton
TRIAL DATE {S) COURT REPORTER COURTROOM DEPUTY
12/3/01 - Richard A. Christoffer Kathy M. Hammond

PLR] DEF | DATE | aarp | ADMITTED ve avuinies :
wo | wo. | oceprep | M ! DESCRIPTION OF EXHIBITS* AND WITNESSES

l “Constitutionality of Initiative 300-a Review of the Court Cases”

2 List of cooperative exemption language options

3 alto ' L—~ 14/21/97 hog meeting notes ~ Y tater

4 ied / _|4/29/91 Morog letter to Johnson - -f 71 O404-

5 j 2 fp / we [5/5/97 Morog letter to Drafting Committee ~ YNorvO4-
6 if ior ilparc 4/19/97 Draft of Amendment E — :
7 } fy for {yar 4/22/97 Draft of Amendment E — SROM prs

8 iafdfor 2 pal 5/8/97 Draft of Amendment E — JAH pdiw

9 Valdas Qu Yal)si12/97 Draft of Amendment E - DA ornyoaer

10 jd / gu uu 5/16/97 Draft of Amendment E Om phew

11 5/14/97 SDLRC letter to Jennings

12 Issue Memorandum No. 98-17 written by Tom Magedanz

13 } a | bhp / bo! . pris Minutes of the Fifth Meeting of Comm. For Constit. Amendment
14 |p | ufo tu” = |Nancy Thompson Argus Leader guest editorial - Qe prern
15 October 1998 Dakota Farmer Circular

16 | al b | b / ” “Bie Hitters Align to Kill Ag Measure” _ Lu tg

17 5/8/97 Thompson E-Mail to John, Brian, Theresa & Dennis

18 “Vote Yes! For the Future of Family Farmers”

19 } 2h lo } uw” {1998 Ballot Question pamphlet ~ tH Lt bh?

20 2/4/00 Cenex letter to Don Tesch

21 12/30/99 Plainsman article “Technology: Boost or Burden?”

22 1999 Farmer Image Consumer Poll

* Include a notation as to the location of any exhibit net held with the case file or not available because of size.

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NO ae. omtnep MARKED | ADMITTED DESCRIPTION OF EXHIBITS AND WiTMESSES
23 1/15/97 Thompson correspondence to Hunhoff
24 ) A fay _~ [314/97 Draft Hog Meeting minutes - 724 got6-r0
25 ip /4 to { ee (3/24/97 Draft Hog Meeting minutes ~ f yztorn)
26 Minutes of First Meeting of Coordinating Comm. For the Constitutional Amendment
27 7/16/97 Hanson letter to Forman
28 7/9/97 Richards letter to Forman
29 Dakota Rural Action document “Vote Yes on Amendment B” - of apter’
30 2 Ib h f wink 4 “Wiese: Corporate Acts Hurt Hog Farmers”
31 6/6/98 Davis letter “Don’t Become Duped by Pork Propaganda”
32 12 /y Of pant 9/16/99 Giedd correspondence to Wiese - Plapler
33 Aberdeen American News article “Family Ag and Clean Air, Water at Stake”
34 1/9/98 Minutes of Vote Yes for the Future of Family Farmers
35 5/16/97 Wiese letter to the Coordinating Committee members
36 i a i lol ~~ 3/25/97 Summary of First Meeting of Language Drafting Subcommittee -Vlypler
37 May/June 1997 Action Review Volume 10, Number 3
38 6/26/97 Davis letter “Corporate Farm Ban Needed”
39 11/14/97 Crea letter “Story About Utah Hog Mess Doesn’t Relate to SD”
40 “Crop and Livestock Production under Amendment B”
4] _|Attorney General 1998 ballot explanation on Constitutional Amendment E
42 8/13/98 Barnett correspondence to Johnson & Wiese — bane
43 12 { 6 | dO} i |1/22/99 Johnson correspondence to Barnett — ener
44 “The Rules and Filing Requirements for Farm Businesses”
45 } Zz [s/ bf L’ | Vitae for Luther Tweeten - Wweetiw
46 (2 bi él i“ _ [Publication list for Luther Tweeten — Drrerhsa
47 IA I | él ~~ |Luther Tweeten Report on South Dakota's Amendment E - Qwesten
48 Secretary of State Notice of Public Hearing to Adopt Rules
49 jaf ah / i  |Sjovall Feedyard’s estimated income loss ~ hpoual

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SD Farm Bureau, Inc., et al. Vs. State of South Dakota, et al. CASE NO. CTV99-3018
Mo | Na. ovnrep | MARKED | ADMITTED DESCRIPTION OF EXHIBITS AND WSTNESSES
50 1/23/00 “Official: Amendment E Halting 8 Projects”
5] Tri-State Neighbor 11/6/98 article “Voters Say ‘Yes’ on “E”
52 / ay Ip f uw“ 5/5/97 Keaveny memo to Bill Drafting Group for Initiated Measure — S Uptbre
53 t 2 / Wo / L~ [4/28/97 Jobn Bixler memo to participants in April 21" meeting — Kiyht?
54 2 Julor uw Comments on YSD Proposed Constitutional Amendment — Yo Nerly-
55 12 /s Ot ICV for Dr. Ralph Brown — Brew)
56 12) 5/0 |Report of Dr. Ralph Brown — Abeer
57 12 /alo f i’ |Haverhals Customer List - 4d, Averhalwy
58 | 4 I loi Y/Y MoorMan’s Cattle Feeding Contract -Naverhate
59 iA / 3f / w |North Dakota Cattlemen’s Association Inspection Ticket - Raverhale/
60 iZ [for i jKingsburg Grain & Feed Bill of Sale - Aaverhate’
6} lA / 3h Of e |8/12/99 Minnesota Corn Processors Feed Contract — Nawerhate/
62 a. [3 bi 1112/28/99 Minnesota Corn Processors Feed Contract — Aaverhata/
63 lA / 3fo f it~ |I[BP Beef Procurement Agreement — ANawtrhate/
64 24 Wp / uw |Harvest States Contract - QDAGH
65 y2/ 3h) i |Harvest States Letter of Refusal ~ Deatfy
66 12/3/01 _~ [1/28/00 Pohl’s letter to Tesch- Deg tQh/
67 (af 3/04 u” |Equipment and Supplies Receipts - Doth
68 / 2| 3 Jo ; L~ |Fin-Ag Statements ~ DLOGAY
69 7/15/98 Brost letter ta the Editor
70 Brost letter to the Editor “Save South Dakota Family Farms”
71 8/17/98 Brost letter to the Editor from Capital Journal
72 i2, | 3/p f we” |Harvest States Lamb Grow-Out Agreement _ Beachlhina Ar
73 (2/3 /o / v |Some Reasons Why Amendment E is Being Challenged - N thA/
74 Vote No On Amendment E Committee Handout
75 Initiated Constitutional Amendment Petition
76 in } diol t— |5/9/97 minutes of meeting in Huron~ Yeplon

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eT oneray | MARKED | ADMITTED DESCRIPTION OF EXHIBITS AND WITNESSES

77 Letters from Secretary of State’s Office and Petition
78 Memo to Language Drafting Committee detailing Brian Jennings’ efforts
79 Chapter 47-9A SDCL
80 Letter Writing Ideas for Amendment E
81 12. } y /, Of Doh wats Thompson Guest Editorial “A New Kind of Sharecropping” ~ Ih 2 Mater
82 4/6/00 “Vilsack signs ban on packers raising their own livestock” - dD MAD) om
$3 | alos t- |Map of Big Stone Power Plant — plfer
84 3/21/00 MacFarlane letter to Pastor Krahling
85 } allo } L~ |Big Stone Plant Ownership Agreement - Lotfi
86 je pf lot e- {Corporation Report of SD Agriculture Activity — Brutlag
87 Farmers Union News Article from February, 1998
88 la Ho |  |Easement Form — YA AU
&9 NWPS Service Territory Map
90 Easement for NWPS by Larry Wasland ~ KAA!
91 Dakota Rural Action publication “It’s Time to Get the Facts on Amendment E”
92 1A Hy { é} uw Memo from John Bixler to interested parties — bub
93 11/4/97 Morog letter to Johnson, et al.
94 Hog Group Meeting Dates - Jhempor
95 3/14/97 Draft Hog Meeting Minutes with handwriting
96 §/9/97 minutes of the meeting in Huron
97 ay Af {Nancy Thompson Billing Records — Db fod
58 Declaration of John Z. Bixler
99 3/19 Media Advisory Conference Call Pre-Meeting

100 5/13/97 Jay Davis Memorandum

101 Declaration of Mary Luanne Napton

102 3/20/98 Vote Yes for the Future of Family Farms Minutes

193 2/27/98 Vote Yes for the Future of Family Farms Minutes

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re | OG cetkp | MARKED | ADMITTED DESCRIPTION OF EXHIBITS AND WITNESSES

104 5/16/97 Wiese memo to Coordinating Committee Members

105 5/16/97 Thompson memo to Jennings & Bixler

106 Find out what SD family farmers & ranchers have to say about Amendment E

107 12 i 6 bo f Le 7/1/98 Farmers and Ranchers Chipping in to Defeat Amendment E News Release
108 } af “fo f cL” _|7/28/98 South Dakota Livestock Foundation Against Amendment E News Release
109 jAfofor e-_ [8/5/98 News Release

110 / ale lo i 18/12/98 News Release-Ground Swell of Support for VOTE NO on E Group

111 (2/4 fot “ 10/15/98 News Release-Certified Public Accountants: Amendment E Bad for Clients
112 } 2 i: bor t 10/22/98 News Release-Amendment E Backers Avoid Real Issues; Lie to Voters
113 } H b fo / t~ 111/2/98 News Release-Ignore the Squeals: Amendment E Not About Corp. Hog Farms
114 Under 325 word summary of the Vote No on E Committee’s position

115 Amendment Points (Speaking Points) and (Medium)

116 Speech for the Vote No on E speakers bureau

117 Vote No on Amendment E newspaper ad from the Argus Leader on November 2
118 Amendment E: A Disaster for South Dakota from South Dakota Ag Leader

119 VOTE NO on Amendment E brochure

120 11/13/96 Murphy Farms letter fViptonw

121 Corporate Farming & Corporate Farming Restrictions in Nebraska

122 Miscellaneous documents from file of Jay Davis

123 April 1999 Killing Competition with Captive Supplies

124 Senate Joint Resolution No. 3, 72" Session 1997

125 Dakota Rural Action Staff Retreat documents

126 4/21/97 Hog Meeting Attendance notes & Attendance Sheet “4 layti-w
127 | ah fo! ’ |Handwritten attendance notes ~ Buller :

128 Pamphlets from Secretary of State’s Office re: Initiatives Petition Circulation

129 “Socioeconomic Impacts of Expanding Pork Production” Allen & Drozd Study

132 (2/3/at | Deposition of Darrell Cruca

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31 ~ alvin ~ \Depositidn of “‘Kobert B. BiIgsHom
32| _\rafo/or Y \o/zofo0 Grquson letter to Brannon /Da ud con
33| _ \alo/or VY |gluloo Gregersn [ekerto Brannon] Ta vidsor
34! ale fos v |\Rosendahl Expert Witness “Report

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